   Case: 3:16-cv-00070-DMB-JMV Doc #: 162 Filed: 12/21/17 1 of 1 PageID #: 1555



                        IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF MISSISSIPPI
                                  OXFORD DIVISION


                                CIVIL MINUTES - GENERAL

                                  No. 3:16-CV-70-DMB-JMV

           Style: Great American Life Insurance Company v. Ava Mitchell Tanner, et al.

                               Place Held: Greenville, Mississippi

                      Date & Time Began: December 21, 2017, 11:12 a.m.
                      Date & Time Ended: December 21, 2017, 11:23 a.m.

                                  TOTAL TIME: 11 MINUTES

           HONORABLE DEBRA M. BROWN, U.S. DISTRICT JUDGE, PRESIDING


Rita Thomas                                                                   Digital Recording
Courtroom Deputy                                                                Court Reporter

FOR PLAINTIFF:                                                           FOR DEFENDANTS:
Michael Farrell                                                                Beth H. Smith
                                                                             J. Hale Freeland




Proceedings: Telephonic Status Conference


Remarks:       Conference held.


                                                    DAVID CREWS, CLERK

                                                    By: /s/ Rita Thomas
                                                        Rita Thomas, Courtroom Deputy
